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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

IN RE:                                       §              CASE NO. 21-60052
                                             §              CHAPTER 7
SCOTT VINCENT VAN DYKE,                      §
                                             §
         DEBTOR                              §              JUDGE CHRISTOPHER M. LOPEZ

                                    NOTICE OF HEARING
                             [Relates to Dkt. Nos. 186, 187, and 188]

         PLEASE TAKE NOTICE that a remote hearing has been set for Thursday,

September 1, 2022, at 10:00 a.m. to consider the Objections to the Debtor’s Exemptions filed by

Catherine S. Curtis, Chapter 7 Trustee (“Trustee”) (Dkt. No. 186), Builders West, Inc. (Dkt. No.

187), and Eva S. Engelhart, Chapter 7 Trustee (Dkt. No. 188) before Judge Lopez by telephone

and video conference.

         Audio communication will be by use of the Court’s dial-in facility. You may access the

facility at 832-917-1510. You will be responsible for your own long-distance charges. Once

connected, you will be asked to enter the conference room number. Judge Lopez’s conference

room number is 590153.

         You may view video via GoToMeeting. To use GoToMeeting, the Court recommends that

you download the free GoToMeeting application. To connect, you should enter the meeting code

“JudgeLopez” in the GoToMeeting app or click the link on Judge Lopez’s home page on the

Southern District of Texas website




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         Dated: August 9, 2022                      Respectfully submitted,

                                                    CHAPTER 7 TRUSTEE

                                                    Catherine Stone Curtis
                                                    State Bar No. 24074100
                                                    P.O. Box 720788
                                                    McAllen, Texas 78504
                                                    (956) 467-1900; (956) 331-2815 fax

                                                    HUSCH BLACKWELL LLP


                                                    By: /s/ Lynn Hamilton Butler
                                                         Lynn Hamilton Butler
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                                                         lynn.butler@huschblackwell.com

                                                    General Counsel to Catherine Stone
                                                    Curtis, Chapter 7 Trustee


                                 CERTIFICATE OF SERVICE

        I certify that on the 9th day of August 2022, a true and correct copy of the foregoing was
served on the Debtor, counsel for the Debtor, the Trustee and the US Trustee via regular US Mail,
unless otherwise served by the CM-ECF system.



                                                    /s/ Lynn Hamilton Butler
                                                    Lynn Hamilton Butler




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